
*487The Supreme Court affirmed the judgment of the Common. Pleas on May 7th, 1883, in the following opinion:
Per Curiam.
The name of Kopitzsch appears to have been inadvertently united with the names of the other defendants below when the: jury were sworn. There was no exception taken thereto; yet inasmuch as he was not served, and no appearance or plea was. entered for him, he was never in court, and as to him the judgment is nugatory. His name is, therefore, ordered to be stricken from the record. As to the others, the case was well tried. There was no plea in abatement. Having gone to trial and tried the case on its merits, it was too late after the evidence-closed to interpose technical objections to the form of the pleadings. There was a labored effort to cast the personal liability of the plaintiffs in error on the succeeding corporation, but on the facts found by the jury, under a clear and correct charge, it justly failed. We see no error in the judgment, against all the plaintiffs in error properly, on the record as to them.
Judgment affirmed.
